USDC IN/ND case 2:11-cr-00077-PPS-APR        document 1853      filed 07/26/16   page 1 of
                                           16

                            UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF INDIANA
                                 HAMMOND DIVISION

  UNITED STATES OF AMERICA,                  )
                                             )
               Plaintiff,                    )
                                             )
       v.                                    )    NO. 2:11CR77 PPS
                                             )
  RICHARD REYES,                             )
                                             )
               Defendant.                    )

                                 OPINION AND ORDER

       After a six-day trial, Richard Reyes was found guilty of RICO conspiracy, a drug

 conspiracy, the murder of Rene Alonzo in aid of racketeering, and the use of a firearm

 resulting in the murder of Alonzo (Counts 1, 2, 7 and 8). A Motion for Judgment of

 Acquittal, Arrest of Judgment, or New Trial was previously denied. [DE 946, 1068.]

 Now before me is Reyes’ second such motion, and this one is based on newly

 discovered evidence [DE 1576 and 1824]. The motion stems from a post-trial statement

 of Reyes’ son, Vincent Garza. Garza claims that another individual, Alfredo “Cooch”

 Alvarez, admitted to Garza that he was the one who killed Alonzo and that Reyes went

 down for a murder he didn’t commit. [DE 1576 at 2.] In addition to pressing a claim of

 newly discovered evidence entitling him to a new trial, Reyes also makes a renewed

 argument based on Brady. An evidentiary hearing was held at which both Garza and

 Alvarez appeared and testified. The Brady claim is groundless because the government

 did not suppress evidence; Garza’s statement came into the government’s possession
USDC IN/ND case 2:11-cr-00077-PPS-APR             document 1853    filed 07/26/16       page 2 of
                                                16

 well after the trial. And the newly discovered evidence — Garza’s statement — would

 not have made any difference in the outcome of the trial. So the motion will be denied.

        Richard Reyes was one of 26 defendants charged in an indictment involving the

 operation of the street gang known as the Imperial Gangsters. The indictment charged

 racketeering and drug conspiracies that spanned more than a decade. The racketeering

 acts included run-of-the-mill street gang activity: robberies, drug dealing and 14

 murders, mostly of rival gang members, as well as several attempted murders. There

 was substantial and persuasive evidence of Reyes’ guilt on the RICO conspiracy and

 drug conspiracy counts. Reyes was a long-time member of the Imperial Gangsters. The

 evidence established that Reyes engaged in a variety of gang activity including

 participating in a series of robberies and burglaries of drug dealers to further the

 interests of the Imperial Gangsters. The evidence also established that Reyes was a

 large-scale marijuana and cocaine dealer and conspired with other Imperial Gangsters

 in his drug dealing activities. Reyes’ guilt on these counts is beyond question; several

 Imperial Gangsters who pled guilty and cooperated testified credibly to these facts.

 And there was also persuasive photographic evidence of Reyes’ membership in the

 Imperial Gangsters. Reyes’ convictions on the two conspiracy counts are not directly at

 issue in the present motion for a new trial.




                                                2
USDC IN/ND case 2:11-cr-00077-PPS-APR          document 1853       filed 07/26/16   page 3 of
                                             16

        What is at issue is Reyes’ conviction for murder in aid of racketeering. The

 victim, Rene Alonzo, was a Latin King gang member who had a long-standing feud

 with the Imperial Gangsters. Alonzo was killed in a drive-by shooting outside the U.S.

 Bar in East Chicago on September 16, 2007. A brief overview of the evidence of the

 murder is necessary to put the present motion into some context.

        What led to the murder of Rene Alonzo was a meaningless dispute earlier in the

 day at the Mexican Independence Day festival. After watching the parade, a man

 named Armando Ortega was at the festival with several friends when a stranger ran up

 and tried to sucker punch him in the head. [DE 905 at 135.] Ortega didn’t recognize the

 assailant, but remembered seeing him in a group with Fetty Lozano, who Ortega

 believed was responsible for the assault. [Id. at 135, 139.] In the ensuing ruckus, Ortega

 was taken out of the festival by police. [Id. at 138.] Ortega spread word about the

 assault, including to his friend Alfredo “Cooch” Alvarez. [Id. at 140-143.] Ortega was

 not himself a gang member, but was acquainted with Reyes, an Imperial Gangster,

 through Cooch, their mutual friend. [Id. at 111, 118, 126-27.]

        That evening, Cooch Alvarez arranged for Reyes to pick up Ortega in his maroon

 van, with Pedro Ramirez in the back. According to Ortega, he gave Reyes his gun when

 he got into the van. [DE 905 at 151-52.] Although he gave Reyes his gun, Ortega was

 only anticipating a fistfight with Fetty Lozano or one of his Latin King associates in



                                              3
USDC IN/ND case 2:11-cr-00077-PPS-APR           document 1853        filed 07/26/16   page 4 of
                                              16

 retaliation for the attempted battery. [Id. at 154-55.] Ortega testified that as the van

 rolled past the U.S. Bar, he saw Fetty get out of a car and throw a Latin King gang sign.

 [Id. at 155-56.] When Reyes saw Fetty throwing Latin King gang signs, Reyes

 responded by using Ortega’s gun to open fire through the window, shattering the glass.

 [Id. at 156-57.] Latin King Rene Alonzo was outside the bar and was fatally injured in

 the shooting.

        Aside from Ortega, there were several witnesses to the murder. Ricardo Perez

 was outside the U.S. Bar the night of the shooting. He testified that he saw the van pull

 up in front of the bar, and the driver open fire. [DE 905 at 22, 24.] He was struck in the

 leg. [Id. at 26.] He later identified Reyes as the shooter in a police lineup and then again

 at trial. [Id. at 33, 35.] Another witness to the shooting was Robert Rodriguez. He was

 outside the bar with Rene Alonzo when he saw the van being driven by Richard Reyes

 pull up in front of the bar. [DE 904 at 239, 244.] He saw a muzzle flash from the

 window of the van. [Id. at 242-43.] Rodriguez was familiar with Reyes, who was a good

 friend of Rodriguez’s uncle. [Id. at 246.] Rodriguez had an unobstructed 8-10 second

 view of the driver who he identified as Reyes. [Id. at 245.] Yet another witness was

 outside the bar that night, Michael Comanse. He testified that he saw the van pull up to

 the front of the bar and saw the driver of the van, Richard Reyes, open fire. [Id. at 174,

 176, 186-89.] Although Comanse did not know Reyes personally, he knew who he was.



                                               4
USDC IN/ND case 2:11-cr-00077-PPS-APR           document 1853       filed 07/26/16   page 5 of
                                              16

 They had taken a GED class together a few years earlier. [Id. at 184.] Comanse told the

 jury that he had 3 to 4 seconds in which to see Reyes. [Id. at 178.]

        As noted above, the new evidence that prompted this round of motions centers

 on the report of Vincent Garza’s proffer interview that took place eight months after

 trial while the government was debriefing Garza on its continuing investigation of gang

 activity in East Chicago. Garza is Reyes’ son and a second generation Imperial

 Gangster who was also charged in the present case. Shortly before trial, Garza pled

 guilty to racketeering conspiracy and two counts of murder in aid of racketeering, and

 has been cooperating with the government ever since. Here is the pertinent information

 from the report of Garza’s interview taken eight months after Reyes’ trial:

        13. GARZA recalled a 2013, conversation with Alfredo “COOCH”
        ALVAREZ in the Marktown section of East Chicago, Indiana while sitting
        in a car smoking marijuana. GARZA stated that during this conversation,
        ALVAREZ told him (GARZA) that he (ALVAREZ) shot Rene ALONZO,
        and not REYES. GARZA further recalled that on the night of the murder,
        Pedro RAMIREZ had a pistol with tape on the handle inside of van.

 [DE 1576-1 at 4.]

        At the December 1, 2015 hearing on the pending motions, Garza elaborated on

 the conversation with Cooch Alvarez. Garza testified that as he and Alvarez were

 smoking, “Cooch, out of nowhere, just told me that my dad was, like, you know what

 I’m saying, a good dude because my dad went down for him ‘cause he said that he

 killed Rene Alonzo.” [DE 1805 at 49.] Counsel clarified that Garza was testifying that



                                               5
USDC IN/ND case 2:11-cr-00077-PPS-APR             document 1853      filed 07/26/16   page 6 of
                                                16

 Alvarez had “specifically told (Garza) that (Alvarez) shot and killed Rene Alonzo,” and

 “it was not Richard Reyes.” [Id.]

        Garza’s report of what Cooch Alvarez is alleged to have said to him is not the

 only newly discovered evidence that Reyes relies upon. More recently, another witness,

 Juanita Martinez, has offered a statement to law enforcement, followed by testimony at

 a February 18, 2016 hearing on the present motion. Martinez testified that she was also

 present outside the U.S. Bar on the night Rene Alonzo was shot. According to Martinez,

 she did not see Comanse, Perez and Rodriguez — the witnesses from the trial who all

 fingered Reyes — outside the bar that night. Finally, at the hearing on the motion for a

 new trial, Reyes also offered the testimony of Francisco Gamez concerning reports in

 the community about the shooting.

        After several rounds of briefing and two evidentiary hearings, Reyes’ renewed

 motion for new trial is now ripe for ruling.

                                      The Brady Claim

        As I’ve explained in prior orders, a Brady violation involves three elements: “(1)

 the evidence at issue is favorable to the accused because it is either exculpatory or

 impeaching; (2) the evidence has been suppressed by the government, either willfully or

 inadvertently; and (3) the suppressed evidence resulted in prejudice.”United States v.

 O'Hara, 301 F.3d 563, 569 (7th Cir.2002), citing Strickler v. Greene, 527 U.S. 263, 281–82

 (1999). A motion for new trial based on a Brady violation faces a high hurdle. The




                                                6
USDC IN/ND case 2:11-cr-00077-PPS-APR           document 1853       filed 07/26/16   page 7 of
                                              16

 violation needs to have been so significant that there is a reasonable probability that it

 affected the verdict. Id.

        Reyes’ Brady claim is a non-starter because he is unable to show that the

 government suppressed the favorable evidence. As I noted above, besides being Reyes’

 son, Garza is a co-defendant in this case. Garza entered a guilty plea on January 3, 2014

 to a charge of racketeering conspiracy and to the homicides of Michael Sessum and

 Miguel Mejias in aid of racketeering activity. His cooperation with the government is

 ongoing. I find no basis for doubting the government’s explanation that it obtained

 Garza’s statement during a post-plea proffer interview on August 25, 2014, seven

 months after Reyes’ trial, and that it disclosed the evidence to Reyes a week later.

        Reyes attempts to cast doubt on the government’s claim that Garza’s statement

 was received only after Reyes’ trial. [DE 1576 at 3-4.] He also suggests that even if the

 statement was made after trial, the government could have obtained it prior to trial. [Id.

 at 4.] These speculative arguments are unpersuasive, and Reyes gilds the lily in

 attempting to support them. Reyes repeatedly asserts that the government has

 committed previous Brady violations, when in fact I have found none. For example,

 Reyes suggests that the government turned over statements by Ernesto Gonzalez “on

 the eve of trial, in violation of Brady and Rule 11 rulings.” [DE 1576 at 4.] This is

 contrary to my analysis and ruling on Reyes’ earlier motion for judgment of acquittal.

 [DE 1068 at 9-11.] Because I find that the government did not suppress the Garza

 statement, Reyes’ Brady claim cannot succeed.


                                              7
USDC IN/ND case 2:11-cr-00077-PPS-APR           document 1853       filed 07/26/16    page 8 of
                                              16

        The Brady claim also fails for lack of prejudice. By definition, Reyes’ trial defense

 in January 2014 was not prejudiced by the unavailability of a statement that had not yet

 been made and did not yet exist. For this reason, the post-trial statement does not lend

 itself to a Brady analysis, but instead is more appropriately considered on a newly-

 discovered evidence theory. Whitlock v. Brueggemann, 682 F.3d 567, 587-88 (7th Cir.

 2012). Finally, as discussed fully below, I agree with the government that there is no

 reasonable probability that the recently received statement and testimony of Garza

 would have produced a different outcome at trial. [DE 1586 at 7.] So I reject Reyes’

 argument made on Brady grounds.

                                Newly Discovered Evidence

        Reyes fares no better seeking relief on the ground that the Garza statement is

 newly discovered evidence entitling him to a new trial.

        In order to receive a new trial based on newly discovered evidence,
        defendants must demonstrate that the evidence “(1) came to their
        knowledge only after trial; (2) could not have been discovered sooner had
        due diligence been exercised; (3) is material and not merely impeaching or
        cumulative; and (4) would probably lead to an acquittal in the event of a
        retrial.”

 United States v. Eads, 729 F.3d 769, 780 (7th Cir. 2013), quoting United States v. Ryan, 213

 F.3d 347, 351 (7th Cir.2000). When a defendant was previously aware of “the

 substance” of the information, evidence may not be “newly discovered.” United States

 v. Theodosopoulos, 48 F.3d 1438, 1448-49 (7th Cir. 1995). The government contends that

 the essence of the Garza statement was already known to Reyes prior to trial, in the



                                               8
USDC IN/ND case 2:11-cr-00077-PPS-APR         document 1853       filed 07/26/16     page 9 of
                                            16

 form of Ernesto Gonzalez’s statement that, after the shooting, Alvarez had said “We got

 this N-gger, we hit him.” [DE 1586 at 7-8.] The government in effect takes the position

 that the earlier known Gonzalez statement, because it might similarly constitute

 Alvarez taking credit for the shooting, contains the “substance” of the Garza statement.

 That position is absurd. What Garza has to say is newly discovered evidence. The fact

 that someone else (Ernesto Gonzalez) previously said the something similar, does not

 render Garza’s statement old news. It remains newly discovered evidence.

       Gonzalez fled the area before trial and could not be located by either party. But

 the jury nonetheless heard what he had to say because Gonzalez’s grand jury testimony

 was read at trial by agreement of the parties. The government argues that the merely

 equivalent Garza statement cannot be material, as required for Reyes to get any relief.

 This is entirely unpersuasive. It is one thing for one person (Ernesto Gonzalez) to have

 said that Cooch Alvarez confessed to the crime that Reyes was later convicted of. It’s

 quite another thing for yet another person (Garza) to have said the same thing — that

 Alvarez confessed to him as well under totally different circumstances and at a different

 time. Two statements are more persuasive than one; they can serve to corroborate one

 another. So I reject the government’s argument that Garza’s statement is not material

 and merely cumulative.

       The government also argues that by exercising due diligence, Reyes could have

 obtained his own confirmation of Alvarez’s claim of responsibility, from any of three

 witnesses – Alvarez himself, Gonzalez, or Garza. [DE 1586 at 8.] That position is


                                             9
USDC IN/ND case 2:11-cr-00077-PPS-APR            document 1853        filed 07/26/16   page 10 of
                                                16

  unreasonable and unrealistic. Before trial began, Alvarez and Gonzalez had

  disappeared. The government’s own efforts to locate them and call them as witnesses

  were unsuccessful. Although Garza is Reyes’ son, prior to Reyes’ trial Garza was

  himself a co-defendant in custody, represented by counsel and negotiating his own plea

  agreement, so that Reyes “had no access to Garza.” [DE 1642 at 5.] Reyes’ argument is

  not defeated by a showing that through the exercise of due diligence he could earlier

  have discovered the evidence he now relies on.

         Given these conclusions, the newly-discovered evidence claim comes down to

  one issue: is there likely to be an acquittal if there were a retrial and the jury had the

  Garza and Alvarez statements available to it as well as the other new evidence? I think

  the answer is no. Reyes first claims that, with this additional evidence, he would have

  a much greater incentive to testify. [DE 1576 at 6; DE 1642 at 7.] Any assertion that

  Reyes would testify if granted a retrial with this additional evidence is entirely

  speculative, and cannot be persuasive in the absence of any indication what his

  testimony would be. I dismiss that contention from my analysis.

         Rule 33 grants district courts discretion to grant a new trial “if the interest of

  justice so requires.” As a practical matter, this standard is quite high, and relief is

  “‘reserved for only the most extreme cases.’” United States v. Hagler, 700 F.3d 1091, 1101

  (7th Cir. 2012), quoting United States v. Linwood, 142 F.3d 418, 422 (7th Cir. 1998). I now

  have the benefit of the new evidence offered by Vincent Garza and Alfredo Alvarez, as

  well as Juanita Martinez and Francisco Gamez, all of which I consider in determining


                                                10
USDC IN/ND case 2:11-cr-00077-PPS-APR          document 1853       filed 07/26/16    page 11 of
                                              16

  whether the availability of this testimony at a retrial would probably lead to Reyes’

  acquittal. I am not persuaded that the standard is met.

          The supposed bombshell for the defense is Garza’s claim that Alvarez once

  admitted to Garza that he was the one who killed Alonzo. If Alvarez was called to

  testify at trial, it isn’t likely that a Perry Mason moment would ensue. Quite to the

  contrary. We know this because Alvarez testified at the evidentiary hearing on the

  present motion. (By this time, he had been located by the government.) Instead of

  agreeing with Garza, he flatly denied both that he had any role in the shooting of

  Alonzo and that he ever made such a statement to Garza. In fact, Alvarez testified in a

  manner consistent with the government’s theory at trial — namely that Alvarez was not

  present for the shooting and that the shots were fired from Reyes’ maroon minivan,

  driven by Reyes, with Ortega in the passenger seat and Pedro Ramirez seated behind

  them.

          The government rightly contends that other aspects of Garza’s statement and

  testimony favor the prosecution rather than the defense. Garza’s testimony contradicts

  Reyes’ own claim that he had loaned his minivan to Ortega and was not in possession

  of it on the night of the shooting. To the contrary, Garza testified that he was riding

  with Reyes in the van earlier that night. Garza also testified that when they drove by

  the U.S. Bar — the scene of the murder — they saw some Latin Kings “throwing up”

  gang signs in a manner that provoked tough talk from passenger Pedro Ramirez and

  could have provoked Reyes’ later return to the bar with violence in mind. This is also


                                              11
USDC IN/ND case 2:11-cr-00077-PPS-APR             document 1853      filed 07/26/16     page 12 of
                                                 16

  consistent with Ortega’s trial testimony about Ramirez praising Reyes after the shooting

  for such a powerful response to a Latin King “throwing up” his sign to a “real

  gangster.” [DE 905 at 172.]

             What’s more, Garza’s testimony about accompanying Reyes to pick up his van

  the next day, after its broken window was repaired, is consistent with the government’s

  other evidence via Ortega concerning the shattering of the driver’s window by Reyes’

  gunfire. Garza’s firsthand account of Reyes’ visit to his Santeria priest the day after the

  shooting is also consistent with Ortega’s trial testimony that Reyes told him he had

  taken the van to the priest. In sum, other than the claim about Alvarez’s alleged

  admission, which Alvarez has now flatly denied, Garza’s testimony is more favorable to

  the prosecution than the defense, and so is not likely to produce a different result on

  retrial.

             Alvarez’s testimony further supports the government’s narrative that the

  shooting was carried out from Reyes’ maroon minivan, driven by Reyes, with Ortega in

  the passenger seat and Pedro Ramirez in the rear, and that Alvarez was not present for

  the shooting or at the scene. In the main, Alvarez’s testimony also mirrors Ortega’s as

  to Alvarez’s role in the temporary storage of the van overnight at Alvarez’s brother’s

  house.

             It is true that there are some discrepancies between Ortega’s and Alvarez’s

  testimony as to the evening’s events insofar as they involve Alvarez. Armando Ortega

  testified at trial that after the shooting, Reyes called Alvarez, but Alvarez testified he got


                                                 12
USDC IN/ND case 2:11-cr-00077-PPS-APR          document 1853        filed 07/26/16   page 13 of
                                              16

  the call from Ortega. But both accounts result in the arrangement to take the van to

  Alvarez’s brother’s house, where it was parked overnight. Ortega says they went to the

  gas station after parking the van at Alvarez’s brother’s house, but Alvarez testified that

  he drove to the gas station first to meet Reyes and the minivan, which followed Alvarez

  from there to his brother’s house. Ortega testified that afterward Alvarez drove Reyes

  and Ramirez back to the gas station to meet their ride, and then Alvarez drove Ortega to

  a bar. Instead, Alvarez testified that after parking the van next to his brother’s garage,

  he drove all three back to his house in East Chicago, where Ortega stayed a while but

  Reyes and Ramirez left. But these differences about inconsequential logistical matters

  are not likely to have an impact on the credibility of the critical testimony the two

  witnesses have in common — namely the identities and positions of the three players in

  the maroon minivan at the time of the shooting, and Alvarez’s role in helping park the

  van somewhere “safe” for the night.

         Alvarez’s testimony adds detail about Reyes picking the van up the next day,

  tossing shell casings from the van into the yard, sweeping shards of glass off the

  passenger seat, and removing a gun-shaped object wrapped in a rag. If believed, this

  testimony also weighs against Reyes’ acquittal in the event of a retrial. Alvarez also

  testified that he received an accusatory call from Fetty Lozano after the Alonzo

  shooting, in which Lozano asked “why did you do that to my boy?” [DE 1805 at 191.]

  The mere accusation of course does not establish Alvarez’s personal responsibility for

  the shooting, and may not even signify it, if intended as a communal “you,” meaning


                                               13
USDC IN/ND case 2:11-cr-00077-PPS-APR          document 1853       filed 07/26/16    page 14 of
                                              16

  the Imperial Gangsters, Alvarez’s “people”. This aspect of the Alvarez testimony

  doesn’t significantly impact my assessment of the likelihood of an acquittal if it were

  used at trial.

         Finally, I consider the new testimony offered by witnesses Juanita Martinez and

  Francisco Gamez. Martinez was at the U.S. Bar with the murder victim (Rene Alonzo)

  and others the night of the shooting. She testified that she raced from the bar after

  hearing the shots fired, to find Alonzo lying on the ground outside. The defense offers

  her testimony to challenge the eyewitness identification of Reyes by trial witnesses

  Michael Comanse and Roberto Rodriguez, who claimed to be outside the U.S. Bar when

  the red minivan drove past and the shooting occurred. Martinez testified that she never

  saw Comanse, Rodriguez or Simon Rubio outside the U.S. Bar that night.1

         I do not credit this testimony with much weight in a jury’s determination

  concerning the murder. As a general proposition, what a witness did not see is not as

  significant a factual offering as what a witness affirmatively saw. In this particular

  instance, the police report of Detective Gruszka indicates the first person interviewed

  on the scene was Robert Rodriguez. That is persuasive evidence that Rodriguez was in

  fact present. The testimony of Comanse could support the conclusion that Martinez did

  not see Comanse for either of two reasons -- because he was too far down the street for




         1
           In his trial testimony, Rubio did not claim to be on the scene. Instead, he
  testified that the next day he had a private conversation with Comanse and Rodriguez
  in which they told him they’d seen Reyes driving the van. [DE 905 at 259.]

                                              14
USDC IN/ND case 2:11-cr-00077-PPS-APR         document 1853       filed 07/26/16   page 15 of
                                             16

  Martinez to notice in the chaotic circumstances, or because Comanse fled the crime

  scene promptly to avoid an arrest for which he was “wanted.” [DE 904 at 192.]

        In any event, the circumstances were traumatic ones for Martinez as a friend of

  Alonzo’s, and her focus would understandably have been on him rather than the

  perimeter of the scene, so that she may not have had as wide a perception as she

  believed. An indication of that is the evidence that bystander Matthew Sincan was at

  the scene of the shooting and fired back at the minivan – a fact of which Martinez was

  unaware. Neither did Martinez see the maroon minivan fleeing the scene, despite her

  claim that she exited the bar immediately upon hearing shots fired. So there are reasons

  to doubt the accuracy or pertinence of Martinez’s essentially negative testimony.

        Gamez, the father of several children with Martinez, testified that he had been

  told by a Josh Marrero that Comanse and Rodriguez were letting it be known that they

  had been lying when they testified against Reyes, just because he was a rival gang

  member. Whether or not this multi-layered hearsay would be admissible or persuasive

  to counter Comanse’s and Rodriguez’s identification of Reyes, the weight of that

  testimony is at least balanced by another statement Gamez attributes to Marrero.

  Gamez testified that Marrero also reported that Pedro Ramirez, Marrero’s cousin, told

  him that “the day of the murder it was Pedro, Richie Reyes, and Mando Ortega in the

  vehicle during the murder.” [DE 1818 at 35.] Ramirez did not testify at Reyes’ trial.

  This statement (if admitted) would confirm the testimony of other witnesses such as




                                             15
USDC IN/ND case 2:11-cr-00077-PPS-APR          document 1853        filed 07/26/16      page 16 of
                                              16

  Armando Ortega and Alfredo Alvarez as to the participants in the drive-by shooting of

  Alonzo, and is clearly incriminating as to Reyes.

         For purposes of determining the impact of all the new evidence on a possible

  retrial, I have reviewed the entire 1800+ page trial transcript, as well as the new

  documentary evidence and transcripts of my December 1 and February 18 evidentiary

  hearings. Applying the high standard applicable to overturning a jury verdict on the

  ground of newly discovered evidence, I am not persuaded to grant Reyes a new trial on

  the basis of the new testimony of witnesses Garza, Alvarez, Martinez and Gamez that

  has been presented for my consideration.

         ACCORDINGLY:

         Defendant Richard Reyes’ Additional Grounds and Renewed Motion for

  Judgment of Acquittal, Arrest of Judgment or New Trial [DE 1576] and Motion in the

  form of Summary of Evidence that Warrants a New Trial [DE 1824] are DENIED.

         Sentencing is set for Monday, November 28, 2016 at 1:00 p.m. Hammond/

  Central Time.

         SO ORDERED.

         ENTERED: July 26, 2016


                                                    /s/ Philip P. Simon
                                                    PHILIP P. SIMON, CHIEF JUDGE
                                                    UNITED STATES DISTRICT COURT




                                               16
